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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :
                                         :
                                         :
                   v.                    :    CRIMINAL ACTION NO. 93-127
                                         :
GRADY JACKSON, JR.                       :

                                        ORDER

     AND NOW, this 25th day of October, 2021, it is hereby ORDERED as follows:

        1. The Court’s Order (ECF #127) is VACATED;

        2. The stay on this case is LIFTED;

        3. Mr. Jackson’s habeas petition is DENIED and DISMISSED for the reasons set

           forth in the accompanying Memorandum Opinion; and

        4. No certificate of appealability shall be issued under 28 U.S.C. § 2253(c)(1)(A)

           because “the applicant has [not] made a substantial showing of the denial of a

           constitutional right[,]” under 28 U.S.C. § 2253(c)(2), since Mr. Jackson has not

           demonstrated that “reasonable jurists” would find my “assessment of the

           constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484

           (2000); see United States v. Cepero, 224 F.3d 256, 262-63 (3d Cir. 2000),

           abrogated on other grounds by Gonzalez v. Thaler, 565 U.S. 134 (2012).



                                         BY THE COURT:

                                         /s/ Jeffrey L. Schmehl
                                         JEFFREY L. SCHMEHL, J.
